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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

JACINDA GARDNER, individually and on behalf )
of all others similarly situated,           )
                                            )
                        Plaintiff,          )              Case No. 2:13-cv-03399-BHH
                                            )
         v.                                 )
                                            )
COUNTRY CLUB, INC., d/b/a MASTERS           )
GENTLEMEN’S CLUB,                           )
                                            )
                        Defendant.          )

                                      ORDER OF COURT

       AND NOW, this 12th day of December, 2018, upon consideration of the parties’ Notice

of Settlement and Joint Motion to Stay, IT IS HEREBY ORDERED that the motion is

GRANTED. All deadlines and proceedings in this action are stayed/continued until further

notice. The parties shall file their complete agreement and move for preliminary approval no

later than 45 days from the date of this order.

               SO ORDERED.


December 12, 2018
                                                     s/Bruce Howe Hendricks
                                                    __________________________________
                                                    Hon. Bruce Howe Hendricks
                                                    United States District Judge
